     Case 1:07-cv-01080-LJO-GSA Document 403 Filed 07/23/10 Page 1 of 2


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 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                              CASE NO. CV F 07-1080 LJO GSA
12                            Plaintiff,                          AMENDED FINAL JUDGMENT
             vs.
13
     NORTHERN CALIFORNIA
14   UNIVERSAL ENTERPRISES,
     INC., et al,
15
                              Defendants.
16                                                    /
17           Plaintiff Roger McIntosh (“Mr. McIntosh”) pursued to trial copyright infringement claims against
18   defendants Northern California Universal Enterprises Company (“NCUE”), Lotus Developments, L.P.
19   (“Lotus”), Dennis W. DeWalt, Inc. (“DeWalt”), and City of Wasco (“Wasco”)1 arising from use of Mr.
20   McIntosh’s subdivision tentative map and improvement plans. This Court entered a March 23, 2010
21   Final Judgment on the jury verdict awarding Mr. McIntosh a combined $6,884,215 against defendants.
22   With defense motions to alter or amend the judgment or for new trial pending, Mr. McIntosh and Wasco
23   settled for $750,000. This Court’s June 29, 2010 order determined that the settlement was in good faith
24   and allocated $150,000 of the settlement to Mr. McIntosh’s actual damages and the remaining $600,000
25   to infringing profits.
26           Wasco’s settlement rendered moot its post-trial motions. Nonetheless, NCUE, Lotus and
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                     NCUE, Lotus, DeW alt and W asco will be referred to collectively as “defendants.”

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     Case 1:07-cv-01080-LJO-GSA Document 403 Filed 07/23/10 Page 2 of 2


 1   DeWalt’s post-trial motions remained pending for decision. This Court’s July 7, 2010 order on NCUE,
 2   Lotus and DeWalt’s post-trial motions:
 3          1.      Concluded that there is an absence of sufficient evidence to support awards of $1.4
 4                  million actual damages against defendants and $1,992,107.50 profits against NCUE and
 5                  Lotus each and that the evidence supports an award of only $161,500 actual damages and
 6                  $0 infringing profits; and
 7          2.      Granted a new trial on the issues of actual damages and infringing profits unless Mr.
 8                  McIntosh, no later than July 15, 2010, filed and served his statement that he accepts an
 9                  amended judgment of $161,500 actual damages and $0 profits.
10          On July 15, 2010, Mr. McIntosh filed his statement to accept an amended judgment of $161,500
11   actual damages and $0 profits. As such, this Court:
12          1.      ENTERS this amended judgment in favor of Mr. McIntosh in the amount of $161,500
13                  actual damages against all defendants, jointly and severally, of which $150,000 has been
14                  paid by Wasco to leave a $11,500 outstanding net balance;
15          2.      ORDERS defendants, no later than August 23, 2010, to:
16                  A.        Return to Mr. McIntosh all hard copies of his Tract 5472 Maps and improvement
17                            plans subject to his copyright claims; and
18                  B.        Remove all electronic copies of Mr. McIntosh’s Tract 5472 Maps and
19                            improvement plans subject to his copyright claims; and
20          3.      ORDERS defendants, no later than August 30, 2010, to file and serve their respective
21                  declarations under penalty of perjury to explain in detail the measures taken to return and
22                  remove Mr. McIntosh Tract 5472 Maps and improvement plans subject to his copyright
23                  claims.
24
25                  IT IS SO ORDERED.
26   Dated:      July 21, 2010                         /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
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